Case 2:20-cv-00536-CCC-ESK Document 10 Filed 06/05/20 Page 1 of 1 PageID: 112

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



     WAEL HANA,                                Civil No. 20-536(CCC)

                      Plaintiff,               ORDER OF DISMISSAL
          V.

    UNITED STATES OF AMERICA,

                      Defendant.



      This matter having been reported settled and the Court having

administratively terminated the action for sixty (60) days so that

the parties could submit the papers necessary to terminate the

case, see Fed. R. Civ. P. 41(a)(1)(A)(ii), L. Civ. R. 41.1, and

the sixty-day time period having passed without the Court having

received the necessary papers;

      IT IS on this    5th    day of    June    , 2020

      ORDERED that the Clerk of the Court shall reopen the case and

make a new and separate docket entry reading “CIVIL CASE REOPENED”;

and it is further

      ORDERED that this matter be, and the same hereby is, DISMISSED

WITH PREJUDICE, and without costs pursuant to Fed. R. Civ. P.

41(a)(2).



                                         __ s/Claire C. Cecchi___
                                         CLAIRE C. CECCHI, U.S.D.J.
